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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


Mohsin Khawaja                                    :
                                                  :
              v.                                  :
                                                  :
Bay Management Group, LLC f/k/a Bay               :       CIVIL ACTION NO.
Management Group Philadelphia, LLC d/b/a Bay      :
Property Management Group; and Bay                :
Management Group Philadelphia, LLC; and Dana      :
Anderson; and JOHN DOES 1-5; and ABC              :
COMPANIES 1-5                                     :



Mohsin Khawaja                                    :       COURT OF COMMON PLEAS
                                                  :       PHILADELPHIA COUNTY
              v.                                  :
                                                  :       DECEMBER TERM
Bay Management Group, LLC f/k/a Bay               :       NO. 000997
Management Group Philadelphia, LLC d/b/a Bay      :
Property Management Group; and Bay                :
Management Group Philadelphia, LLC; and Dana      :
Anderson; and JOHN DOES 1-5; and ABC              :
COMPANIES 1-5                                     :


                                     NOTICE OF REMOVAL

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA:

       Defendants, Bay Management Group, LLC, Bay Management Group Philadelphia, LLC and

Dana Anderson (collectively, "Defendants"), by and through their attorneys, Marshall Dennehey Warner

Coleman & Goggin, hereby remove the above-captioned case to this Honorable Court and provides

notice of same to counsel representing the Plaintiff. In support of the removal, Bay Management Group,

LLC, Bay Management Group Philadelphia, LLC and Dana Anderson aver as follows:

       1.     On December 16, 2021, Plaintiff filed a Complaint in the Court of Common Pleas of

Philadelphia County, Pennsylvania against Defendants, styled: Mohsin Khawaja v. Bay Management
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Group, LLC f/k/a Bay Management Group Philadelphia, LLC d/b/a Bay Property Management

Group; Bay Management Group Philadelphia, LLC; Dana Anderson; John Does 1-5; and ABC

Companies 1-5, December Term 2021, No. 000997. Plaintiff's Complaint is attached hereto as Exhibit

"1."

         2.    Defendants were served with Plaintiff's Complaint on December 20, 2021 and December

21, 2021, respectively.

         3.    As Defendants were served on December 20, 2021 and December 21, 2021, Defendants

have not yet filed an Answer or other response to the Complaint. In filing this Notice of Removal,

Defendants do not waive any defense or counterclaim that may be available to it.

         4.    This Notice of Removal is timely filed pursuant to 28 U.S.C. §1446(b) because it is filed

within thirty (30) days of when Defendants were served with the Complaint.

         5.    This Honorable Court's jurisdiction is based upon diversity of citizenship under 28 U.S.C.

§1332.

         6.    Federal courts have original diversity jurisdiction over actions in which the matter in

controversy exceeds seventy-five thousand dollars ($75,000.00) and the parties are citizens of different

states. 28 U.S.C. §1332.

         7.    Specifically, "[a] district court's determination as to the amount in controversy must be

based on the 'plaintiff's complaint at the time [the] petition for removal was filed,'" Werwinski v. Ford

Co., 286 F.3d 661, 666 (3d. Cir. 2002), quoting Steel Valley Auth. v. Union Switch & Signal, 809 F2d

1006, 1010 (3d. Cir. 1987).

         8.    Moreover, "Section 1332 has been interpreted to require 'complete diversity.'" Ruhrgas

AG v. Marathon Oil Co., 526 U.S. 574, 580 n. 2 (1999). Thus, diversity jurisdiction "applies only to




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cases in which the citizenship of each plaintiff is diverse from the citizenship of each defendant.

Caterpillar, Inc. v. Lewis, 519 U.S. 61, 68 (1996).

       9.      Here, Plaintiff's Complaint avers that Plaintiff resides at 7014 Pennsylvania Avenue,

Upper Darby, PA 19082. As a result, Defendants herein believe that Plaintiff is a citizen of the

Commonwealth of Pennsylvania on the date when this action was commenced. See Ex. 1, at ¶ 1.

       10.     Bay Management Group, LLC is organized in the State of Maryland and its principal

place of business is located at 6 Halbright Court, Timonium, MD 21093. See Affidavit of Carolyn

Freeze, at ¶ 3, attached hereto as Exhibit "2." The sole member of Bay Management Group, LLC is a

trust organized under the laws of the State of Maryland, for the beneficiary of a Maryland resident. Id.

       11.     Bay Management Group Philadelphia, LLC is organized in the State of Maryland and its

principal place is located at 6 Halbright Court, Timonium, MD 21093. See Affidavit of Dana Anderson,

at ¶ 4, attached hereto as Exhibit "3." The two individual members of Bay Management Group

Philadelphia, LLC are residents of the State of Maryland and the State of Delaware, respectively. Id.

       12.     Dana Anderson resides at 877 Sweet Birch Drive, Middletown, Delaware. Ex. 1, at ¶ 4.

       13.     Based upon the foregoing, there is complete diversity among the parties identified in

Plaintiff's Complaint.

       14.     Next, Plaintiff's Complaint alleges claims of (1) defamation; (2) tortious interference with

prospective contracts; and (3) vicarious liability/respondeat superior. Ex. 1, at ¶¶ 31-36; 37-44; 42-45.

Specifically, Count I of Plaintiff's Complaint alleges that "plaintiff has suffered damages" and demands "an

amount in excess of $50,000, interest, costs, attorneys' fees, [and] punitive damages." See Ex. 1, at ¶ 36.

Count II of Plaintiff's Complaint alleges that "Defendants severely damages Plaintiff's business interests,

has harmed Plaintiff's reputation; has severely damaged Plaintiff's goodwill and has caused Plaintiff to

sustain damages in excess of $50,000." Ex. 1, at ¶ 40. Count III of Plaintiff's Complaint further demands




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judgment "in an amount in excess of $50,000, plus costs, pre and post judgment interest, fees, and any relief

this Court deems just." See Ex. 1, at ¶ 45.

         15.    As a result, it is evident that the amount in controversy exceeds $75,000 and is a matter

which may be removed to this Honorable Court pursuant to 28 U.S.C. § 1441.

         16.    Written notice of this filing will be given to Plaintiff. Also, as required by 28 U.S.C. §

1446(d), a copy of this Notice of Removal will also be filed with the Prothonotary of the Court of

Common Pleas of Philadelphia County, Pennsylvania, the court in which the State Court Action was

filed.

         WHEREFORE, Defendants, Bay Management Group, LLC, Bay Management Group

Philadelphia, LLC and Dana Anderson respectfully request that the above action, now pending in the

Court of Common Pleas of Philadelphia County, Pennsylvania, be removed therefrom and proceed in

this Court as an action duly removed.

                                              Respectfully submitted,

                                              MARSHALL DENNEHEY WARNER
                                               COLEMAN & GOGGIN


                                              BY:
                                                      LEE C. DURIVAGE
                                                      Identification Number: 205928
                                                      2000 Market Street, Suite 2300
                                                      Philadelphia, PA 19103
                                                      Phone: (215) 575-2584
                                                      Email: lcdurivage@mdwcg.com

                                                      Attorney for Defendants: Bay Management Group,
                                                      LLC, Bay Management Group Philadelphia, LLC
                                                      and Dana Anderson

Dated: January 14, 2022




                                                    -4-
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                                  CERTIFICATE OF SERVICE

       I, Lee C. Durivage, Esquire, do hereby certify that a true and correct copy of Bay Management

Group, LLC, Bay Management Group Philadelphia, LLC and Dana Anderson's Notice of Removal, was

electronically filed with the Court on January 14, 2022, and is available for viewing and downloading

from the ECF System.

                                           MARSHALL DENNEHEY WARNER
                                            COLEMAN & GOGGIN


                                           BY:
                                                  LEE C. DURIVAGE




                                                 -5-
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        EXHIBIT 1
                             Case 2:22-cv-00182 Document 1 Filed 01/14/22 Page 7 of 27
        Court of Common Pleas of Philadelphia County                                           For Prolhoriotarv Use Only (Docket Number)'   :
                      Trial Division
                   Civil Cover Sheet                                        E-Rijng NumW 211203 25 9 5           ;
                                                                                                                                 eooas?
PLAINTIFF'S NAME                                                           DEFENDANT'S NAME
 MOHSIM KHAWAJA                                                              BAY MANAGEMENT GROUP, LLC, ALIAS: D/B/A BAY
                                                                             PROPERTY MANAGEMENT GROUP

                                                                           DEFENDANT'S ADDRESS
PLAINTIFF'S ADDRESS                                                          6 HALBRIGHT COURT
  7014 PENNSYLVANIA AVENUE
 UPPER DARBY PA 19082                                                        TIMONIUM MD 21093


                                                                            DEFENDANT'S NAME
PLAINTIFF'S NAME
                                                                             BAY MANAGEMENT GROUP PHILADELPHIA, LLC


                                                                            DEFENDANT’S ADDRESS
PLAINTIFF'S ADDRESS
                                                                              6 HALBRIGHT COURT
                                                                              TIMONIUM MD 21093


PLAINTIFF'S NAME
                                                                            DEFENDANT'S NAME
                                                                              DANA ANDERSON


                                                                            DEFENDANT'S ADDRESS
PLAINTIFF'S ADDRESS
                                                                              877 SWEET BIRCH DRIVE
                                                                              MIDDLETOWN DE 19709


                                     TOTAL NUMBER OF DEFENDANTS       COMMENCEMENT OF ACTION
TOTAL NUMBER OF PLAINTIFFS
                                                                       G3 Complaint            [ C Petition Action                Cl Notice of Appeal
                   1                                5
                                                                       □ Writ.of Summons       CH Transfer From Other Jurisdictions

AMOUNT IN CONTROVERSY           COURT PROGRAMS

                               O Arbitration               .   □ Mass Tort                      C Commerce                       □ Settlement
 O $50,000.00 or less          Ej                              O Savings Aclion                 O Minor Court Appeal             C Minors
                                                                                                                                 □ W/D/Survival
 121 More than $50,000.00      C Non-Jury                      Q Petition                       O Statutory Appeals
                               C Other:
 CASE TYPE AND CODE

   2L       LIBEL, SLANDER, MISREPRESENT.

 STATUTORY BASIS FOR CAUSE OF ACTION




                                                                                                                     IS CASE SUBJECT TO
 RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)
                                                                        PRORpfoTHY                                   COORDINATION ORDER?
                                                                                                                                 YES             NO


                                                                     DEC 16 2021
                                                                            S. RICE

 TO THE PROTHONOTARY:
 Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: MOHSIN KHAWAJA
 Papers may be served at the address set forth below.

  NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANTS ATTORNEY                       ADDRESS
                                                                              ALAN L FRANK LAW ASSOCIATES PC
   JEFFREY J. GOLDIN
                                                                              135 OLD YORK RD
  PHONE NUMBER                            FAX NUMBER                          JENKINTOWN PA 19046
    (215)935-1000                         (215)935-1110


  SUPREME COURT IDENTIFICATION NO.                                           E-MAIL ADDRESS

   312689                                                                      jgoldin@alflaw.net

  SIGNATURE OF FILING ATTORNEY OR PARTY                                      DATE SUBMITTED

    JEFFREY GOLDIN                                                             Thursday, December 16, 2021, 11:32 am

                                                    FINAL COPY (Approved by the Prothonotary Clerk)
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COMPLETE LIST OF DEFENDANTS:
    1. BAY MANAGEMENT GROUP, LLC
         ALIAS: D/B/A BAY PROPERTY MANAGEMENT GROUP
         6 HALBRIGHT COURT
         TIMONIUM MD 21093
    2. BAY MANAGEMENT GROUP PHILADELPHIA, LLC
         6 HALBRIGHT COURT
         TIMONIUM MD 21093
    3. DANA ANDERSON
         877 SWEET BIRCH DRIVE
         MIDDLETOWN DE 19709
    4. JOHN DOES 1-5
         UNKNOWN
         UNKNOWN PA 19100
    5. ABC COMPANIES 1-5
         UNKNOWN
         UNKNOWN PA 19100
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                                                                                                        Filed /and Attested by the
                                                                                                                                         ^ord*
ALAN L. FRANK LAW ASSOCIATES, P.C.                                                    major
                                                                                                                                              am
                                                                                                             16
By: Alan L. Frank, Enquire
        Jeffrey J, Goldin, Esquire
Identification No.: 34414/ 312689
135 Old York Road
Jenkintown, PA 19046
Tel: (215) 935-1000
Fax: (215) 935-1110                                                                    Attorneys for Plaintiff

Mohsin Khawaja
7014 Pennsylvania Avenue
Upper Darby, PA 19082                                                       i IN THE COURT OF COMMON PLEAS
                                                      Plaintiff,            j PHILADELPHIA COUNTY,
                     v.                                                     i PENNSYLVANIA

Bay Management Group, LLC f/k/a Bay
Management Group Philadelphia, LLC d/b/a Bay
Property Management Group
6 Halbright Court                                                              CIVIL ACTION NO.
Timomum, MD 21093
                                   And
Bay Management Group  Philade lphia, LLC
6 Halbright Court
Timomum, MD 21093
                                   And
Dana Anderson
877 Sweet Birch Drive
Middletown, DE 19709
                                   And
JOHN DOES 1-5 and ABC COMPANIES 1-5.
                                   Defendants.

                                                        CIVIL ACTION
                                                      NOTICE TO DEFEND
                                                                                                     pages, you must take action within twenty
 You have been sued in court, ii‘ you wish (o defend ngninst the claims set forth in thecefollowing
                                                                                            persnnnUy   or by attorney and flling in writing with
 (20) days after this complaint nml uotlco  arc served, by catering   n written appearan
                                                                  against you.   You arc warned   that if you fail U> do so the ease may pcooood
 the convt your dol'eiises or objections to the claims set forth                     further notice fur any money claimed In the complnlut or
 without you  and  a Judgment   may  he entered  ngninst you  by  the court  without
 for my ofhsr pJaiw or rcllof rctiwesJed by the plaintiff, Vpu may JoseYOU        money or property or other rights Unportuul to yun.YQU
 tMQUU) TAKE THIS PAPEli TO YOUK                 LAWYER      AT   ONCE.     IF        1)0 NOT HAVE A LAWYER OR CANNOT AFFORD
 ONE, OO TO OH TELEPHONE THE OFFICE SET FORTH RELOW AL SERVICE                TO  FIND  OUT WHERE YOU CAN (SET LEGAL
                                                      LAWYER REFERR
                                                               I’blladelphln County
                                                        One Rending Center, lit!) Floor
                                                             Philadelphia, PA 19107
                                                                   (215) 238-6333
                                                                TYY (215)451-6197




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            Case 2:22-cv-00182 Document 1 Filed 01/14/22 Page 10 of 27




ALAN L. FRANK LAW ASSOCIATES, P.C.                             MAJOR JURY PROGRAM
By:     Alan L. Frank, Esquire
        Jeffrey J. Goldin, Esquire
Identification No,: 34414/312689
135 Old York Road
Jenkintown, PA 19046
Tel: (215) 935-1000
Fax: (215) 935-1110                                            Attorneys for Plaintiff

Mohsin Khawaja
7014 Pennsylvania Avenue
Upper Darby, PA 19082                                  IN THE COURT OF COMMON PLEAS
                                    Plaintiff,         PHILADELPHIA COUNTY,
              v.                                       PENNSYLVANIA

Bay Management Group, LLC f/k/a Bay
Management Group Philadelphia, LLC d/b/a Bay
Property Management Group
6 Halbright Court                                      CIVIL ACTION NO.
Timonium, MD 21093
                                 And
Bay Management Group Philadelphia, LLC
6 Halbright Court
Timonium, MD 21093
                                 And
Dana Anderson
877 Sweet Birch Drive
Middletown, DE 19709
                                 And
JOHN DOES 1-5 and ABC COMPANIES 1-5.
                                 Defendants.


                                        COMPLAINT

       Plaintiffs, Mohsin “Mo” Khawaja. (“Plaintiff’ or “Khawaja”), by and through then-

undersigned counsel, files this Complaint based upon the following statement of facts:

                                                 The Parties

       1.     Plaintiff is an adult individual who resides at the above-captioned address.




                                                  2



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       2,      Defendant, Bay Management Group, LLC f/k/a Bay Management Group

Philadelphia, LLC d/b/a Bay Property Management Group (“BMG") is a business entity,

fictitious name, or corporation, incorporated in Maryland and doing business within the

Commonwealth of Pennsylvania with a principal place of business at the above-referenced

address.

       3.       Defendant, a Bay Management Group Philadelphia, LLC (“BMG Philly") is a

business entity, fictitious name, or corporation, incorporated in Maryland and doing business

within the Commonwealth of Pennsylvania with a principal place of business and/or registered

address at the above-referenced address.

       4.       Defendant Dana Anderson (“Anderson”) is an adult individual and citizen of

Delaware who reside and/or may be served at the above-referenced address.

       5.       At all times relevant hereto, Defendant Anderson is the president of BMG Philly

and is an agent of BMG.

       6.       Defendants JOHN DOES 1-5 and ABC COMPANIES 1-5 are fictitious

designations, representing one or more individuals, proprietorships, associations, limited partnerships.

general partnerships, limited liability companies and/or corporations, who are presently unknown or have

not yet been identified and who may otherwise be responsible, in whole or in part, for the tortious

activities described herein.

                                             Jurisdiction

       7.       The Commonwealth of Pennsylvania has jurisdiction over each Defendant

because each Defendant has extensive contacts within Pennsylvania by conducting a continuous

and systematic part of their business within the Commonwealth.



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      8.        In addition, the Commonwealth of Pennsylvania has jurisdiction over Defendants

because Plaintiffs causes of action arise out of Defendants’ actions in Pennsylvania, and

beceusse Defendants have caused harm or tortious injury to Plaintiff in Pennsylvania,
                                              Venue

      9.        The Philadelphia Comity Court of Common Pleas of has venue since Defendants’

tortious and defamatory conduct occurred in Philadelphia County and Delaware County,

Pennsylvania.
                                       Factual Background

       10.      Plaintiff Khawaja has been involved in the development and rental of real estate

properties in portions of Philadelphia County find Delaware County for over fourteen (14) years.

       11.      Over that time, Plaintiff has relied on his reputation and standing with renters in

these communities as his primary method to locate new tenants.

       12.      Plaintiff is known to his tenants and members of the community as “Mo”

Khawaja.

       13.       Piaintiff2 over the course of fourteen years, has repeatedly md continuously

secured for himself, as well as any entity which Plaintiff has been affiliated with, new renters

through word of mouth and referrals from existing tenants.
       14.       Defendants BMG and BMG Philly (collectively hereafter “BMG Defendants”)

 advertise themselves as a singular property management group which offers services in parts of

 Maryland, Pennsylvania, Virginia, and Washington D.C.1

        15.      'Defendant Anderson is held out as the president of BMG and BMG Philly’s



1 https://www.bavmgmtgroLip.com/locatlons/

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Pennsylvania territories, including those areas where Plaintiff does business.2

       16.     At all times relevant hereto, Plaintiff is a member of MBMK Property Holdings,

LLC and Property Pals, LLC, two entities that purchase rental properties and operate as

landlords in Philadelphia and Delaware County.

       17.       MBMK Property Holdings, LLC currently owns thirteen (13) properties located

in Philadelphia and in Delaware County.

       18.       At all times material hereto, the BMG Defendants were engaged as property

managers for MBMK Property Holdings, LLC.

       19.       At all times relevant hereto, a dispute arose between Plaintiff and the other

member of MBMK Property Holdings, LLC.

       20.       Subsequently thereafter, the BMG Defendants and Defendant Anderson engaged

in a smear campaign designed to materially impact Plaintiffs reputation and business

opportunities.

       21.       On December 17, 2020, Defendant Anderson, on BMG*s letterhead, issued

official notices to all thirteen (13) rental units indicating that:

                     •   Plaintiff “broke into the premises and gave [the current tenant] the keys”

                         and therefore the current occupant of the premises is illegally occupying

                         the property;

                     • Plaintiff, “who likely identified himself as Mo, has filed for bankruptcy

                         and is being sued for millions of dollars for stealing and nonpayment of

                         debt.” (emphasis added);



2 https://www.baymgmtgroup.com/about/

                                                    5



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                   • Plaintiff is a “defected member of the ownership”; and
                   «   The occupant would be ousted as a squatter unless they contact the BMG

                       Defendants.

       A copy of die December 17, 2020 letter addressed to the occupant of 245 Burmont Road,

Drexel Hill, PA and authored and signed by Defendant Anderson is attached hereto as Exhibit

“A”. It is believed that various iterations of this letter were sent to all other MBMK Property

Holdings, EEC tenants and a copy thereof of those letters are believed to be in Defendants'

possession.

       22.      Subsequently, on December 24, 2020, Defendant Anderson contacted another

tenant via text message and stated:

                                      mimmmmmm
                                       <   Donna Anderson R.             ^ a i
                                           fiMSW-irt


                                            Lushe/!, Dana
                                            here. Please read
                                            the letter from
                                            the attorney. Moe
                                            is going to jail
                                            for a very long
                                            time for stealing
                                            money and owing
                                            casinos hundreds
                                            of thousands of
                                            dollars. We will be
                                            fifing for eviction
                                            this week if you do
                                            not pay/show proof
                                            of payment.

                                            Regards,

                                            Dana Anderson                     i n HA


                                                    o'W-.'hr       , v.'/'V



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         23,     At all times material hereto, Defendant Anderson made these statements on behalf

of the BMG Defendants.

         24.     At ail times material hereto, Defendant Anderson’s claim that Plaintiff “broke into

the premises”, “stole millions of dollars”, and was a “defected member of the ownership” were

false.

         25.     Further, at all times material hereto, Defendant Anderson’s statement that “Moe is

going to jail for a very long time for stealing..is false.

         26.     Thereafter, Plaintiff contacted the BMG Defendants’ chief operating officer in an

effort to have him halt the defamatory and false statements made by Defendant Anderson.

         27.     In response, Plaintiff received a phone call from Defendant Anderson whereby

Defendant Anderson acknowledged Plaintiffs communication and, in retaliation, threatened to,

and presumably did, contact a lender of Plaintiffs entity and make additional false statements

and allegations that Plaintiff is stealing rental income.

         28.     Defendant Anderson made these statements either with knowledge of their falsity

or with reckless disregard for their falsity.

         29.     The BMG Defendants ratified and consented to Defendant Anderson’s actions

and permitted such false statements to be made on behalf of BMG and BMG Philly.

         30.     As a result of Defendants’ conduct, Plaintiff has suffered damages.

                                                amn
                                            LMumilml
         31.     The Plaintiff incorporates by reference the foregoing allegations.




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       32.      The statements at issue have a defamatory character because they falsely accuse

the Plaintiff of engaging in theft, breaking and entering, and falsely allege that Plaintiff will be

imprisoned.
       33.      Many of the statements are defamatory per se because they accuse the Plaintiff of

acting improperly or committing misconduct with regards to its business.

       34.      The recipients of the defamatory statements understood both the defamatory

character of the statements and the statements’ application to the Plaintiff.

       35.      The Defendants acted with knowledge of the statements’ falsity or reckless

disregard for the statements’ falsity.

       36.      As a result of the Defendants conduct, the Plaintiff has suffered damages.

       WHEREFORE, the Plaintiff demands judgment in its favor and against Defendants for

damages in excess of $50,000, interest, costs, attorney’s fees, punitive damages, an injunction

prohibiting further defamatory statements and directing the Defendants to retract those

complained of in this case, and such other relief as the Court may deem just and proper.
                                            COUNT II
                                      Plaintiff v. Defendants
                        (Tortious Interference with Prospective Contracts)

        37.      Plaintiff incorporates by reference the preceding paragraphs of this Complaint as

 if set forth at length herein.
        38.      At all times relevant hereto. Plaintiff has relied on word of mouth and referrals

from current tenants to enter into contracts with prospective tenants.

        39.      Defendants took purposeful action specifically intended to harm interfere with

Plaintiffs prospective relationships with future tenants to the great harm and detriment of the

Plaintiff and to the benefit of the Defendants.
                                                  8



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        40,      By reason of the aforesaid. Defendants severely damaged Plaintiffs business

interests, lias harmed Plaintiffs reputation; has severely damaged Plaintiffs goodwill and has

caused Plaintiff to sustain damages in excess of $50,000.

        41.      The actions taken by the Defendants were undertaken without privilege or

justification.

        WHEREFORE, Plaintiff prays for judgment in its favor and against Defendants, in an

amount exceeding $50,000.00 together with costs, prejudgment interest, attorneys’ fees and such

other relief as may be deemed just, equitable and/or appropriate under the circumstances.

                                             COUNT HI
                                    Plaintiff v. BMG Defendants
                             (Vicarious Liabilitv/Respondcat Superior)

         42.     Plaintiff incorporates by reference the preceding paragraphs of this Complaint as

if set forth at length herein.

         43.      At all times material hereto, Defendant Anderson was acting as an agent of the

 BMG Defendants and was acting within the scope of his agency relationship with the BMG

 Defendants and

         44.      As such, the BMG Defendants are vicariously liable for the acts of Defendant

 Anderson, as more fully described in this Complaint,

         45.      By virtue of the doctrine of Respondeat Superior, the BMG Defendants are liable

  for the acts Defendant Anderson, as more fully described in this Complaint.

         WHEREFORE, Plaintiffs hereby demand judgment in their favor against Defendants

 BMG and BMG Philly, jointly and severally, in an amount in excess of $50,000, plus costs, pre

 and post judgment interest, fees, and any relief this Court deems just.


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                                       JMOIMMS
      46.     Plaintiff demands a trial by j ury in connection with all claims and causes of action

herein asserted.




                                             Respectfully submitted,

                                             ALAN L. FRANK LAW ASSOCIATES, I\C,
                                                           r-"
                                                     +**


                                                                 i iTi^ n 11


                                             AlanJ^vft^JistfCfife
                                             Jj-jlrSyT. Goldin, Esquire
Dated: December 16,2021                      Attorneys for Plaintiff




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         I, MeNin ICtmwaja verify that I am th# FlainM in this aotion, I       state tlmt'   feots

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iiifbmmtioii and/or beUef. I undorstand the statements are made subject to the penalties of 18 Pa.
C.S. §4904 relating to unsworn Msifications to authorities.


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                       EX. "A"




                                                               Case ID: 21120099;
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                                                                          CS\
                                                                           BMGv             '■J.'Oijp
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■.v'-’G   : ^c-Ig-wgb' Gv-;1 &:^(W
"■‘■■l :rk.k:V'-GVS




OFFICIAL NOTICE: 24S Burmont Rd
i<7   bGtogobG'G    G; * i'r,RGyvG G?                      w.- ?


iG-GiGGGIG       LG-fG GIG V’GBG   gG;G.G'M'^          'GG         G; =;•■          ;;fG: •;'•/•■       ;                          ■       ur o;:;' gG/g:"

   G-CG           G: GG-G ; •-G!G :G      :G"G G-          g         ./           j :>:,-r:o,,F         :•••::

.1BGVG'-G -• •- G?;:Gr oGiiG- G.-'OGGB!':’G GrOGG.                        gGo          prOiVGGiGG GrGj :rr-                       G''g; ..OB GoVG-             g
                                                                                                                                           C
ppGi'GOB; '"/' 'G rGGf:Sv ■ 0 G'O !V;GGG hiCnGG^ ' "/G G.GG/: ky-[:-              oN'gJ     iO-              gG       GGG'G ' v •- '' •        ■VGv: -'BGr'i

rriG^GG-'G C,'! G^GUGGS Y<?.'•. V'G:Gggo GG'sO                                     <?/! &;b". '!■:■?.                                     -'G GjVGCGv GGGBG-Gd Gt

POP                 Rd. [M'BGG: HR,. PA ;AAAg ggg PgogH gH ggHg/' g :,;"b.vc:tv ^g^.Agggg A:-.;; rru* y.>^h
o;,jr to P"    g;ggggg1Agg^ gg-^gg'-g gog            'Ab Hv G.                                      :.'v         g'   ;. •;••••• ■•: G '.GOGV;. W&x?*. %! 'GcPPCiGf

th.B'G' tG G ;Gp'p:ty!BG GGUV                y >t ; ' \ GOGGi Gy boArC-/ ;                                       .. , :pG;         G--C OC'yiGt'VT GGrt

Go GC'MGj Gcto A GoG GU- G::^:;7 'V G G                                      C-v-r AytiA-AG                      • •■'■Vvt.s; '-:o: oo CynGCH                      'GOO tp

;Ao thGiG                 ittc '<■?. ! GGio:' •> , 7:Hoh                         typ ptVG.G; - ; t-vrd. ■;•: V- G5,




                                                     • :                                                                                  ttGrtGlTiS, iro-',GyHy
              ,n 'tA' rJoGB Acgg :.:;. \ . :                              yt ■      :'riFj-iT'p' '• •

A;>HHn?i.G"AA.;;A-a jAoy, opt; •: :G! p;> yy gvbA yv r^!?-L;t ;A.At:::;jAn AApy oH: gt Grp: yAt
■■/XU •XApyGvipit n'i'HGG y::A'A;7.




           oyHy-p/'




                                                                                                                                                               Case ID: 21l20099r,
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         EXHIBIT 2
            Case 2:22-cv-00182 Document 1 Filed 01/14/22 Page 23 of 27




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


Mohsin Khawaja                                      :
                                                    :
              v.                                    :
                                                    :
Bay Management Group, LLC f/k/a Bay                 :       CIVIL ACTION NO.
Management Group Philadelphia, LLC d/b/a Bay        :
Property Management Group; and Bay                  :
Management Group Philadelphia, LLC; and Dana        :
Anderson; and JOHN DOES 1-5; and ABC                :
COMPANIES 1-5                                       :



Mohsin Khawaja                                      :       COURT OF COMMON PLEAS
                                                    :       PHILADELPHIA COUNTY
              v.                                    :
                                                    :       DECEMBER TERM
Bay Management Group, LLC f/k/a Bay                 :       NO. 000997
Management Group Philadelphia, LLC d/b/a Bay        :
Property Management Group; and Bay                  :
Management Group Philadelphia, LLC; and Dana        :
Anderson; and JOHN DOES 1-5; and ABC                :
COMPANIES 1-5                                       :


                         DECLARATION OF CAROLYN FREEZE

       Pursuant to 28 U.S.C. § 1746, Carolyn Freeze declares the following:

       1.     I certify that I am Carolyn Freeze and I submit this declaration in support of

Defendants' Notice of Removal.

       2.     At all relevant times, I have been the owner of Bay Management Group, LLC and

am familiar with Bay Management Group, LLC's corporate structure.

       3.     Specifically, Bay Management Group, LLC is a Maryland limited liability

company, with its principal place of business located at 6 Halbright Court, Timonium, Maryland

21093. The sole member of Bay Management Group, LLC is the Carolyn Freeze Revocable Trust,
       Case 2:22-cv-00182 Document 1 Filed 01/14/22 Page 24 of 27




a trust organized under the laws of the State of Mainland. The sole beneficiary of the trust is myself

and I am a resident of the State of Maryland.

        I declare under penalty of perjury that the                le and correct.




                                                CAROLYN FREEZE



DATED:      01/12/2022




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         EXHIBIT 3
            Case 2:22-cv-00182 Document 1 Filed 01/14/22 Page 26 of 27




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


Mohsin Khawaja                                     :
                                                   :
              v.                                   :
                                                   :
Bay Management Group, LLC f/k/a Bay                :       CIVIL ACTION NO.
Management Group Philadelphia, LLC d/b/a Bay       :
Property Management Group; and Bay                 :
Management Group Philadelphia, LLC; and Dana       :
Anderson; and JOHN DOES 1-5; and ABC               :
COMPANIES 1-5                                      :



Mohsin Khawaja                                     :       COURT OF COMMON PLEAS
                                                   :       PHILADELPHIA COUNTY
              v.                                   :
                                                   :       DECEMBER TERM
Bay Management Group, LLC f/k/a Bay                :       NO. 000997
Management Group Philadelphia, LLC d/b/a Bay       :
Property Management Group; and Bay                 :
Management Group Philadelphia, LLC; and Dana       :
Anderson; and JOHN DOES 1-5; and ABC               :
COMPANIES 1-5                                      :


                         DECLARATION OF DANA ANDERSON

       Pursuant to 28 U.S.C. § 1746, Dana Anderson declares the following:

       1.     I certify that I am Dana Anderson and I submit this declaration in support of

Defendants' Notice of Removal.

       2.     At all relevant times, I have been employed by Bay Management Group

Philadelphia, LLC as President of Philadelphia which covers Bucks, Montgomery, Delaware,

Philadelphia and Chester counties.

       3.     In my role as President, I am familiar with Bay Management Group Philadelphia,

LLC's corporate structure.
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       4.       In particular, Bay Management Group Philadelphia, LLC is a Maryland limited

liability company, with its principal place of business located at 6 Halbright Court, Timonium,

Maryland 21093. The members of Bay Management Group Philadelphia, LLC are myself and my

business partner. Neither myself nor my business partner are residents of the Commonwealth of

Pennsylvania.

       I declare under penalty of perjury that the foregoing is true and correct.




                                              DANA ANDERSON



DATED: 01 / 12 / 2022




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